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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: NEW ENGLAND COMPOUNDING MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY Master Dkt.: 1:13-md-02419-FDS
LITIGATION

THIS DOCUMENT RELATES TO:

All Actions

                 THE PLAINTIFFS’ STEERING COMMITTEE’S REPLY
                  TO THE CREDITORS’ COMMITTEE’S OBJECTION

       We know “no good deed goes unpunished.” But so quickly? And in so many words?

        In an effort to conserve judicial and estate resources, the Plaintiffs’ Steering Committee

agreed to include the Creditors’ Committee in negotiating the proposed case management order.

The Plaintiffs’ Steering Committee has also agreed to work with the Creditors’ Committee to try

to initiate resolutions with unaffiliated defendants through bankruptcy channels (i.e., settlements

that involve non-debtor bankruptcy releases or channeling injunctions issued by the bankruptcy

court). Neither agreement changes the fact that this Court gave the Plaintiffs’ Steering

Committee and Lead Counsel the power to negotiate and pursue all settlement options.1

       We continue our efforts to work with the lawyers who represent members of the

Creditors’ Committee. Nothing more need be said.


1
  MDL Order No. 2: Order Appointing Lead Counsel, Federal-State Liaison Counsel, and
Plaintiffs’ Steering Committee dated April 9, 2013, In Re: New England Compounding
Pharmacy, Inc. Products Liability Litigation [Dkt. No. 82]. The order provides for the
involvement of Lead Counsel “in any class or group settlement discussions, whether with a
single defendant or multiple defendants, whether taking place in the MDL or the bankruptcy.”
(Id. at §7). The order also provides that the Plaintiffs’ Steering Committee shall have authority
“to negotiate and propose settlement of cases on behalf of plaintiffs or plaintiff groups, including
exploring and, where appropriate, pursuing all settlement options concerning any claim or
portion thereof of any case filed in this litigation.” (Id. at §9(D)(1)).
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Dated: June 19, 2013

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                                  Plaintiffs’ Steering Committee




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                                  CERTIFICATE OF SERVICE

       I, Thomas M. Sobol, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.


Dated: June 19, 2013
                                                      /s/ Thomas M. Sobol
                                                      Thomas M. Sobol, BBO # 471770




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